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        THE MIN GIT INDIANS
               George Thornton Emmons



                         Edited with additions by
                     Frederica de Laguna
                      and a biography by Jean Low




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                                                                                                                          TABLES / 437




                                                               TABLE 11
                                                   The Composition of Tlingit Tribes

                           I TONGASS                                                             IV HENYA
Emmons: Tan-ta Kwan, Ton-ta Kwan, "Sea lion tribe," from              Emmons: Hen-yeh Kwan, contracted from Hay-nuk-a-koo-oo-
          Prince of Wales Island, which was called tan, "sealion."              woo Kwan, "people from the other side," referring to
          Tangash, Tongass is the name in more general use.                     the outer coast of Prince of Wales Island.
Phonetic: Tan (ya-)ia cran, "people from behind (i.e. inland          Phonetic: Henya* cran, from he-niya*, "this direction (over
                                                       a',
          side of) Prince of Wales Island." Tanga's or Tang                     there)."
          from tan, "sealion," the name for Prince of Wales           Swanton: Henya qoan
          Island.                                                          Raven 2 Tar-qwan-a-tee, or Tark-an-a-tee, or Tsar-wan-ee
Swanton: TAngic qoan                                                                   [Ta*kw7 anedf I
    Raven 1 Con-nah-hut-tee iGanaeadil                                     Raven 12 Tee-hee-na-tee, or Tee-been-a-tee [Tfyinedil
    *Wolf 8 Shen-ku-qway-tee [ankuk"e - clf]                               Raven 21 Yes-kah-na-tee or Yes-qwar-na-tee
     *Wolf 27 Tuck-clar-way-tee [Daqtaw•dil                                              [Ynqanedi (?)]
*These seem to be alternate designations for the same clan.                Raven 24 Teetle-hit-ton 1Tfi hit-tan!
    Wolf 32 Tay-qway-tee ITe*credfl                                        *Raven 20 Wahke-heen-a-tee INVeXhinedfl
                                                                           *Raven 34 Hu-yahk-hut-tee tQuyeVadil
                            II SANYA                                   •Raven 20 was omitted from one chart, perhaps because extinct;
Emmons: Son-nah Kwan, Sa-niya or Sa-nya Kwan, "Southward              Raven 34 added on the other chart.
          tribe," from sa-nuh "south."                                     Wolf 8 Shen-ku-qway-tee (ankuk"e'clil
Phonetic: Sanya. ql.•, from sw-niya*, "southern direction."                Wolf 14 Kah-qwoir-hit-ton [Kag"ax hit-tan (?)1
Swanton: Sanya qoan
    Raven 10 Kake-sat-tee                                                                        V KLAWAK
    Wolf 32 Ta-qway-tee [Te•cre•dfl                                   [Added by Emmons as an afterthought to one chart. The constitu-
    Eaglie Na-ah-tee, Na-ah-hut-tee INceadil                          ent clans, of which there seem to be only two, are difficult to
                                                                      read.]
                              III STIKINE                             Emmons: Klawak Kwan, "place of wrath." Or "people from the
 Emmons,: Stick heen or Stikheen Kwan, "Bitter, unwholesome                       other side."
             water tribe," from stahlz "glacial mud in the river."    Phonetic: Lawait (ran (etymology unknown)
 Phonetic : tact hfn qwi•, from § datak hfn, "water (so silty) that
         .                                                            Swanton: Lawak, a Henya town.
             (it) must be chewed."                                          Raven 30? Ka-yah-ut-de (Ka-ya lotted) or Ka-ya-te
 Swanton: Staq!ItIn qoan, or Cq!At qoan [4.at (ran]                                        [KayePadi] ?
     Raven 10 Kake-sat-tee !Kiks 7 adil                                     Raven 31? Toke-ku-a-de (beaver) ITuciwyrdtp
     [Raven 14 Arn-kark-hit-ton. An obvious error for Raven 11.]
     Raven 11 Tee-ton or Teete-ton [Ti')' hit-tan]                                                 VI KUYU
      *Raven 25 Souk-heen-a-tee (Suqwtfriedil                          Emmons: Kuyu Kwan. Name said to be derived from "stomach,"
      *Raven 28 Kartch-hut-tee IC2aVadil                                         referring to the shape of either Kuiu Island or some
 *These appear to be alternative designations for the same group.                bay where they first lived.
     Raven 32 Kas-qwoir-qway-tee [Ka*sftagwed11                        Phonetic: Kuyu qin, Possible derivation from stomach, yu,
      Raven 33 Tahl-qway-tee ITaqqwedil                                          needs to be checked.
     Wolf 18 Nan-ya-i-ee INanya'?•yll                                  Swanton: Kuiu qoan.
                                                                           *Raven 20 Wahke-heen-a-tee IWeithinedi)
      Wolf 19 Sick-nar-hut-tee
      Wolf 26 Hook-qway-tee [Xu - Stwedi(?)]                               *Raven 34 Hu-yahk-hut-tee [Quyeqadil
      Wolf 31 K'Hithlh-qwan or HetheLqwan IXel-qwanl                   *These different names seem to designate the same group.
                                                                           Raven 22 Thluke-heen-a-tee ILu•twhinedi (?)1
                                                                           Raven 23 Ka-ya-tee or Ku-ya-tee [Kuyedi (?)]
                                                                           Wolf 10 Sha-ah-qwan la.*?a• qwan (?)l
                                                                           Wolf 11 Nas-ta-tee INwstedil
                                                                           Wolf 12 Nas-sah-hut-tee or Nas-ah-hut-tee INa . sax 7adi (?)I
                                                                           Wolf 13 Khoon-hit-ton [Kiln hit-ta•]



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